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                                                                                       I. Background
        Briefs and Other Related Documents
        S.E.C. v. DauplaiseM.D.Fla.,2006.                                   A. Defendants and Relevant Entities
              United States District Court,M.D. Florida.
         SECURITIES AND EXCHANGE COMMISSION,
                              Plaintiff,                            Dauplaise was the CEO and a director of Bio One
                                  v.                                until February of 2005. Shinder was a director of
             Armand DAUPLAISE & Bernard Shinder,                    Bio One from December of 2003 until November of
                             Defendants.                            2004, and had “held himself out as” Bio One's CFO
                   No. 6:05CV1391 ORL 31KRS.                        since 2002. Shinder also acted as a consultant to
                                                                    Bio One and served as a director of Bio One's
                           Feb. 22, 2006.                           Interactive Nutrition International subsidiary. Bio
                                                                    One paid Shinder by hiring Bernard Shinder
                                                                    Consultants, Inc., on whose behalf Shinder acted
        Brent Stephen Mitchell, Cheryl J. Scarboro, Peter           when he worked for Bio One.
        H. Bresnan, Russell David Duncan, Securities and
        Exchange Commission, Washington, DC, for                    Bio One was a Nevada corporation with
        Plaintiff.                                                  headquarters near Orlando, Florida. Its common
        Philip J. Snyderburn, Snyderburn, Rishoi & Swann,           stock was registered pursuant to Section 12(g) of
        Maitland, FL, Carl Francis Schoeppl, Schoeppl &             the Exchange Act, and its shares were traded on the
        Burke, P.A., Boca Raton, FL, for Defendants.                Over the Counter Bulletin Board until they were
                                                                    delisted in May of 2005.
                               ORDER
        PRESNELL, J.
        *1 The Securities & Exchange Commission (“SEC”                                     B. Facts
        ) alleges that the Defendants, Armand Dauplaise (“
        Dauplaise”) and Bernard Shinder (“Shinder”), in             In mid-2003, Bio One began acquiring private
        relation to their involvement with Bio One                  businesses, and in early 2004, it made several
        Corporation (“Bio One”), committed and/or aided             purchases, including the acquisition of one hundred
        and abetted fraud in violation of various federal           percent of the common stock of Interactive
        securities laws. This matter is presently before the        Nutrition International (“INI”) at a cost of $23.4
        Court on Shinder's Motion to Dismiss (Doc. 20) and          million.FN2 As part of this purchase, Bio One and
        the SEC's Response thereto (Doc. 24).FN1 The                INI issued a $15 million (Canadian) note (the “Note
        Court held a hearing on this matter on February 10,         ”) to INI's former owners, the Nesrallah family (the
        2006, at which the parties presented oral argument.         “Nesrallahs”). Bio One agreed to begin making
        For the reasons stated herein, Shinder's Motion to          monthly payments starting July 1, 2004. Under the
        Dismiss is granted in part and denied in part.              terms of the Note, the Nesrallahs held a security
                                                                    interest in INI's assets that could be enforced in the
                                                                    event of default.
                FN1. The SEC's Complaint appears at
                Doc. 1. At the hearing it was represented
                to the Court that a settlement has been                     FN2. Shinder and Dauplaise have both
                reached between the SEC and Armand                          stated that INI was a major part of Bio
                Dauplaise.                                                  One's business strategy.

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        Bio One failed to make the July 1, 2004 payment, FN3                FN6. Dauplaise signed as both the Chief
        and on July 7, 2004, Pam Nesrallah sent a                           Executive    Officer   and    the Chief
        letter to Dauplaise and Shinder notifying them that                 Financial/Accounting Officer.
        Bio One was in default and proposing the
        negotiation of a forebearance agreement. Dauplaise          Pam Nesrallah sent a second forbearance agreement
        received and signed a copy of that letter. On August        to Dauplaise on November 1, 2004 (the “November
        13, 2004, Pam Nesrallah sent a forbearance                  Forbearance       Agreement”).      The    November
        agreement (the “August Forbearance Agreement”)              Forbearance Agreement included the same
        to Dauplaise and Shinder, along with a letter noting        restrictions as the August Forbearance Agreement,
        that Bio One remained in default on the Note. The           as well as several documents, including: a notice of
        August Forbearance Agreement required Bio One,              default; a notice of intention to enforce security;
        inter alia, to: acknowledge the default; refrain from       and an acknowledgment and waiver for Dauplaise
        taking dividends, distributions or other money from         and Sinder to sign, which acknowledged receipt of
        INI; and to consent to the Nesrallah Family's               the notices, waived further notice, and consented to
        enforcement of their security interests in the event        the Nesrallah Family's immediate enforcement of
        of any further default. After receiving the August          their security interest. Dauplaise and Shinder signed
        Forbearance Agreement, Dauplaise and Shinder                both the November Forbearance Agreement and the
        discussed, via e-mail, whether Bio One needed to            acknowledgment and waiver.FN7 Neither Dauplaise
        disclose the receipt of a notice of default, and then       nor Shinder consulted with an attorney before
        both signed that agreement.FN4                              signing the forbearance agreements.


                FN3. Indeed, Bio One never made any                         FN7. The SEC alleges that when Shinder
                monthly payments on the $15 million note.                   signed the acknowledgment and waiver
                                                                            form, he was aware that he was waiving
                FN4. The SEC alleges that Dauplaise                         any notice period in the event of a default.
                understood     that     his     signature
                acknowledged Bio One's default.                     Bio One filed a Form 10-QSB covering the period
                                                                    to September 30, 2004 (the “Third Quarter 10-Q”)
        *2 Bio One filed its Form 10-QSB for the period             on November 15, 2004. The Third Quarter 10-Q
        ending June 30, 2004 (the “Second Quarter 10-Q”),           included unaudited financial statements prepared by
        on August 18, 2004. The Second Quarter 10-Q                 Bio One's accountants, who relied on a letter signed
        describes the Note and Bio One's obligation to              by Dauplaise, in which he wrote that Bio One had
        make monthly payments thereon, but did not                  complied with all aspects of contractual
        disclose the July 1, 2004 nonpayment or the August          arrangements that would have a material effect on
        Forbearance Agreement. FN5 Dauplaise, Shinder               the company's financial statements in the event of
        and the other Bio One directors reviewed and                noncompliance.FN8 The Third Quarter 10-Q also
        approved the Second Quarter 10-Q.FN6                        describes the Note and the monthly payments, but
                                                                    does not mention the nonpayment or the
                                                                    Forbearance Agreements. Dauplaise signed the
                FN5. Dauplaise has claimed that the failure         Third Quarter 10-Q as Bio One's Chief Executive
                to mention the August Forbearance                   Officer and Chief Financial/Accounting Officer.
                Agreement was the result of an oversight.
                In any event, it is not clear why the Second
                Quarter 10-Q, which only covered the                        FN8. The SEC alleges that Bio One had
                period ending June 30, 2004, would have                     not complied with all aspects of the Note,
                disclosed events that did not occur until                   and that such noncompliance would have a
                July and/or August. See additional                          material effect on the relevant financial
                discussion in n. 16, infra.                                 statements.

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        Both the Second and Third Quarter 10-Q included             *3 Prior to the issuance of this Form 8-K, on
        certifications entitled “Officer's Certification            December 21, 2004, Bio One's accountant sent Bio
        Pursuant to Section 302,” which stated, in part             One's attorneys a draft financial statement that
        Based on my knowledge, this report does not                 included a note regarding the fact that Bio One had
        contain any untrue statement of a material fact or          been declared to be in default of its obligation under
        omit to state a material fact necessary to make the         the Note. The following day, Bio One's attorney
        statements made, in light of the circumstances under        circulated a Form 8-K, which disclosed the default.
        which such statements were made, not misleading             Dauplaise and Shinder initially approved the
        with respect to the period covered by this report;          disclosure of the default, and Shinder wrote a
                                                                    revision to the second Form 8-K that included the
        andBased on my knowledge, the financial                     statement: “Bio One entered into a Forbearance
        statements and other financial information included         Agreement under the terms of which Bio One
        in this report, fairly present in all material respects     acknowledged that it was in default of making
        the financial condition, results of operations and          certain payments under the Note.” Shinder emailed
        cash flows of the small business issuer as of, and          this revision to Dauplaise and Bio One's attorney.
        for, the periods presented in this report.
                                                                    After Shinder sent that email, a conference call was
        Dauplaise signed both of these certifications.FN9           held among Shinder, Dauplaise and Bio One's
                                                                    attorneys in order to discuss INI. At that time the
                                                                    attorneys had not seen the Forbearance Agreements,
                FN9. The SEC alleges that these                     and Shinder and Dauplaise did not mention the
                certifications were false when Dauplaise            receiver to the attorneys. Although the attorneys
                signed them.                                        were aware that Bio One had failed to make the July
                                                                    1, 2004 payment on the Note, Shinder told them
        On December 13, 2004, the Nesrallah Family                  that Bio One had never received a written notice of
        appointed a receiver to seize INI's assets. As a            default, and that any forbearance agreements were
        result, Bio One lost control of INI's assets.               oral, not written.FN11 Based on Dauplaise's and
        Dauplaise and Shinder learned about the                     Shinder's statements, the attorneys agreed that the
        appointment of the receiver that same day,FN10 but          situation regarding INI could be described as “
        did not notify Bio One's attorneys or its board of          delinquent.”
        directors until after December 23, 2004. On
        December 23, 2004, Bio One filed a Form 8-K,
        which failed to disclose the default on the Note, the               FN11. The SEC alleges that Shinder's
        Forbearance Agreements and the receivership.                        statement was false.
        Statements filed with the Form 8-K, drafted by Bio
        One's accountants, included a note disclosing Bio           After that conference call, Shinder and Dauplaise
        One's purchase of INI and noting that in December           spoke via telephone with Bio One's accountant.
        of 2004 Bio One was delinquent in its obligation to         Dauplaise objected to the term “default,” and stated
        INI's former owners. The SEC alleges that this              that the situation was “not a technical default,” but
        filing used the term “delinquent” rather than “default      did not mention either Forbearance Agreement.
        ” because Dauplaise and Shinder withheld facts              Dauplaise also downplayed the significance of the
        from Bio One's lawyers and accountant.                      receiver. The accountant, relying on Dauplaise's
                                                                    statements and on Shinder's failure to contradict
                                                                    Dauplaise, agreed to replace the term “default” with
                FN10. The SEC alleges that Shinder has              “delinquent.” The Form 8-K thus did not disclose
                acknowledged that this was a “major issue,          Bio One's default when it was filed on December
                ” and that the appointment of the receiver          23, 2004.
                was a material event that should have been
                disclosed.                                          Within a short time after the filing of the Form 8-K,

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        Pam Nesrallah notified Dauplaise via e-mail that the        facts necessary to make certain statements not
        Nesrallah Family no longer wished to work with              misleading, to an accountant in connection with the
        Bio One. Dauplaise forwarded that e-mail to                 audit or examination of Bio One's financial
        Shinder, who responded that they would have to              statements, and thereby violated or aided and
        brief the board of directors regarding the situation.       abetted the violation of Rule 13b2-2 of the
                                                                    Securities Exchange Act, 17 C.F.R. section
        During the year 2004, Bio One sold more than 100            240.13b202 (“Rule 13b2-2”). Count Five alleges
        million shares of stock. The Forbearance                    that Bio One failed to devise or maintain the
        Agreements and the appointment of a receiver were           required system of internal accounting controls, and
        not disclosed to the public until the filing of a Form      that Shinder aided and abetted this violation of
        8-K on February 15, 2005. On February 18, 2005,             Section 13(b)(2)(B) of the Securities Exchange Act,
        Bio One terminated Dauplaise's employment and               15 U.S.C. section 78m(b)(2)(B) ( “Section
        severed all ties with Shinder. Bio One subsequently         13(b)(2)(B)”).
        ceased operations, and virtually its entire board of
        directors resigned.                                         Shinder has moved to dismiss the SEC's complaint,
                                                                    arguing as to Count One that the SEC has failed to
                                                                    attribute any misrepresentations to him, even if he
                      C. Claims and Arguments                       did make misstatements he did not act with the
                                                                    requisite scienter, and the SEC cannot support
        The SEC has asserted five claims against Shinder.           either the Rule 10b-5 element requiring a
        Count One alleges that through his fraudulent               connection with a purchase or sale or the Section
        conduct, Shinder violated Section 17(a) of the              17(a) element requiring a connection with an offer
        Securities Act, 15 U.S.C. section 77q(a) (“Section          and sale. Shinder also seeks the dismissal of the
        17(a)”), Section 10(b) of the Securities Exchange           other counts, arguing that he is not the issuer of the
        Act, 15 U.S.C. section 78j(b) (“Section 10(b)”), and        securities at issue and did not provide sufficient
        Rule 10b-5, 17 C.F .R. section 240.10b-5 (“Rule             assistance for a finding of aider and abettor liability
        10b-5”), or in the alternative aided and abetted the        (Count Two), he did not participate or cause the “
        violation of Section 10(b) and Rule 10b-5. Count            falsification” of any of Bio One's books and records
        Two asserts a violation of Section 13(a) of the             (Count Three), there are insufficient allegations to
        Securities Exchange Act, 15 U.S.C. section 78m(a) (         show that he either violated or aided and abetted the
        “Section 13(a)”), and Rules 13a-11 and 13a-13               violation of Rule 13b2-2 (Count Four), and there
        promulgated thereunder, 17 C.F.R. sections                  are no allegations demonstrating that Shinder knew
        240.12-b-20 and 240.13a-1 (“Rule 13a-11” and “              he should have disclosed the nonpayments and the
        Rule 13a-13”), which require that quarterly reports         Forbearance Agreements, nor are there allegations
        provide true and accurate financial information and         demonstrating that Shinder had a role in
        that principal officers must sign certification forms.      establishing Bio One's internal accounting controls
        Count Two also alleges that Shinder aided and               (Count Five).
        abetted violations of Section 13(a) and Rules
        13a-11 and 13a-13. In Count Three, the SEC
        alleges that Shinder directly or indirectly falsified or                   II. Standard of Review
        caused the falsification of Bio One's books, records
        or accounts, and thereby violated Rule 13b2-1 of            In ruling on a motion to dismiss, this Court must
        the Securities Exchange Act, 17 C.F.R. section              view the complaint in the light most favorable to the
        240b2-1 (“Rule 13b2-1”).                                    Plaintiff, Cannon v. Macon County, 1 F.3d 1558,
                                                                    1565 (11th Cir.1993), and must limit its
        *4 In Count Four, the SEC alleges that Shinder              consideration to the pleadings and any exhibits
        directly or indirectly made or caused to be made            attached thereto. Fed. R. Civ. P. 10(c); see also
        materially false or misleading statements to, or            GSW, Inc. v. Long County, Ga., 999 F.2d 1508,
        omitted to state, or caused to be omitted, material         1510 (11th Cir.1993). The Court will liberally

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        construe the complaint's allegations in the Plaintiff's     sets forth (1) precisely what statements were made
        favor, Jenkins v. McKeithen, 395 U.S. 411, 421, 89          in what documents or oral representations or what
        S.Ct. 1843, 23 L.Ed.2d 404 (1969), and will not             omissions were made, and (2) the time and place of
        dismiss a complaint for failure to state a claim            each such statement and the person responsible for
        unless it appears beyond a doubt that the Plaintiff         making (or, in the case of omissions, not making)
        cannot prove any set of facts that support a claim          same, and (3) the content of such statements and the
        for relief. Conley v. Gibson, 355 U.S. 41, 45-46, 78        manner in which they misled the plaintiff, and (4)
        S.Ct. 99, 2 L.Ed.2d 80 (1957). In ruling on a motion        what the defendants obtained as a consequence of
        to dismiss, “conclusory allegations, unwarranted            the fraud.
        factual     deductions    or     legal    conclusions
        masquerading as facts will not prevent dismissal.”          Ziemba v. Cascade Int'l, Inc., 256 F.3d 1194, 1202
        Davila v. Delta Air Lines, Inc., 326 F.3d 1183,             (11th Cir.2001) (internal citation and quotation
        1185 (11th Cir.2003).                                       omitted).

        Normally, in reviewing a complaint on a motion to
        dismiss under Federal Rule of Civil Procedure (“                             III. Legal Analysis
        Rule”) 12(b)(6), “courts must be mindful that the
        Federal Rules require only that the complaint                   A. Count One-Section 10(b), Rule 10b-5 and
        contain a short and plain statement of the claim                              Section 17(a)
        showing that the pleader is entitled to relief.” U.S.
        v. Baxter Intern., Inc., 345 F.3d 866, 880 (11th
        Cir.2003) (citing Fed. R. Civ. P. 8(a)). This is a          Section 10(b) and Rule 10b-5 prohibit fraud “in
        liberal pleading requirement, one that does not             connection with the purchase and sale of securities,”
        require a plaintiff to plead with particularity every       and Section 17(a) prohibits fraud “in the offer and
        element of a cause of action. Roe v. Aware Woman            sale of securities.” S.E.C. v. Gane, 2005 WL 90154
        Ctr. for Choice, Inc., 253 F.3d 678, 683 (11th              at *11 (S.D.Fla. Jan.4, 2005); 15 U.S.C. § 78j(b);
        Cir.2001). Instead, the complaint need only “               17 C.F.R. § 240.10b; 15 U.S.C. § 77q(a). Sections
        contain either direct or inferential allegations            10(b) and 17(a) prohibit essentially the same type of
        respecting all the material elements necessary to           sales practices. S.E.C. v. Chem. Trust, 2000 WL
        sustain a recovery under some viable legal theory.”         33231600 at *9 (S.D.Fla. Dec.19, 2000). The
        Id. (internal citation and quotation omitted). “A           elements of a proof of violation of each section are
        complaint need not specify in detail the precise            essentially the same, and include:
        theory giving rise to recovery. All that is required is     (1) a misrepresentation or omission,FN12 (2) that
        that the defendant be on notice as to the claim being       was material, FN13 (3) which was made in the offer
        asserted against him and the grounds on which it            and sale of a security (Section 17(a)(1)) or in
        rests.” Sams v. United Food and Comm'l Workers              connection with the purchase or sale of securities (
        Int'l Union, 866 F.2d 1380, 1384 (11th Cir.1989).           Section 10(b) and Rule 10b-5), (4) scienter,FN14
                                                                    and (5) the involvement of interstate commerce, the
        *5 However, the SEC has specifically pled this              mails, or a national securities exchange.FN15
        action as a fraud action. Claims of fraud must
        satisfy the pleading requirements of Rule 9(b) of the
        Federal Rules of Civil Procedure (“Rule 9(b)”),
        which provides that “[i]n all averments of fraud or
                                                                            FN12. Liability under these sections thus “
        mistake, the circumstances constituting fraud or
                                                                            arises   not    only    from     affirmative
        mistake shall be stated with particularity. Malice,
                                                                            misrepresentations but also from failures to
        intent, knowledge, and other conditions of mind of a
                                                                            disclose material information.” Gane,
        person may be averred generally.” Fed.R.Civ.P. 9(b)
                                                                            2005 WL 90154 at *11.
        . The pleading requirements of Rule 9(b) may be
        satisfied where the complaint
                                                                            FN13. “ ‘Material information’ is defined

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                as information that is substantially likely to      merely aiding and abetting, and no matter how
                be important to a reasonable investor in            substantial that aid may be, it is not enough to
                deciding whether to purchase, sell, or hold         trigger liability under Section 10(b).” Lucent, 363
                securities.” Chem. Trust, 2000 WL                   F.Supp.2d at 720.
                33231600 at *10.
                                                                    *6 Regarding the Form 10-Qs, the SEC has failed to
                FN14. See Aaron v. SEC, 446 U.S. 680,               articulate     which     misrepresentations    and/or
                701-702, 100 S.Ct. 1945, 64 L.Ed.2d 611             omissions are attributable to Shinder at the time of
                (1980) (SEC is required to establish                their public dissemination. The SEC alleges that
                scienter as element of civil enforcement            Shinder, among others, “reviewed and approved”
                action to enjoin violations of Section              the Second Quarter 10-Q, but does not allege that
                10(b), Rule 10b-5, and Section 17(a)(1));           Shinder had any involvement in preparing that
                SEC v. First Fin. Group of Tex., 645 F.2d           document, nor does the SEC allege that Shinder
                429, 435 (5th Cir.1981). Scienter “has              signed it.FN16 Further, the SEC fails to make any
                been defined by the Supreme Court as a              allegations connecting Shinder to the Third Quarter
                mental state embracing intent to deceive,           10-Q. Although the SEC alleges that Shinder was
                manipulate, or defraud. This definition             aware of the appointment of the receiver, and failed
                embraces knowing or intentional conduct             to disclose that information to Bio One's board of
                proscribed by [Section] 17(a)(1), [Section]         directors, by that time Shinder was no longer a
                10(b), and Rule 10[b]-5.” First Fin. Group,         director of Bio One, and the SEC has offered no
                 645 F.2d at 435 n. 9 (internal citations and       basis to conclude that Shinder had any duty to
                quotations omitted); see also SEC v. Adler,         disclose that information.
                137 F.3d 1325, 1340 (11th Cir.1998).

                FN15. “Unlike a private litigant, however,                  FN16. The Second Quarter 10-Q was not,
                the SEC need not prove either reliance or                   in and of itself, misleading, by the failure
                damages.” SEC v. Lucent Tech., 363                          to disclose the default and the August
                F.Supp.2d 708, 714 (D.N.J.2005).                            Forbearance Agreement, as those events
                                                                            occurred after the time period covered by
        Gane, 2005 WL 90154 at *11; Chem. Trust, 2000                       that 10-Q. The information contained
        WL 33231600 at *9.                                                  therein, however, may have become
                                                                            misleading by the failure to subsequently
        The question of primary liability for a violation of                update it, as by filing a Form 8-K to give
        Section 10(b) and Rule 10b-5 is governed by a “                     notice of the default and August
        bright line test,” which means that                                 Forbearance Agreement. While a duty to
        in order for the defendant to be primarily liable                   update may exist, the SEC has not made
        under § 10(b) and Rule 10b-5, the alleged                           any allegations to support a claim for a
        misstatement or omission upon which a plaintiff                     violation of that duty. See In re Int'l Bus.
        relied must have been publicly attributable to the                  Mach. Corporate Sec. Litig., 163 F.3d
        defendant at the time that the plaintiff's investment               102, 110 (2nd Cir.1998) (duty to update
        decision was made.                                                  may exist when statement which was
                                                                            reasonable at time made, becomes
        Ziemba, 256 F.3d at 1205; see also S.E.C. v. Lucent                 misleading because of subsequent event);
        Tech., 363 F.Supp.2d 708, 720 (D.N.J.2005) (“a                      In re Burlington Coat Factory Sec. Litig.,
        person must actually make the material                              114 F.3d 1410, 1431 (3rd Cir.1997)
        misstatement or omission and the misrepresentation                  (updating might be required if prior
        must be attributed to the specific actor at the time of             statement became materially misleading in
        public dissemination in order to be a primary                       light of subsequent events); Rubinstein v.
        violator.”) “Anything short of such conduct is                      Collins, 20 F.3d 160, 170 n. 41 (5th

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                 Cir.1994); Rudolph v. Arthur Andersen &                   The SEC has alleged that Bio One's
                 Co., 800 F.2d 1040, 1043 (11th Cir.1986) (                Second and Third Quarter 10-Qs, as well
                 “Where a defendant's failure to speak                     as the Form 8-K filed in December of
                 would render the defendant's own prior                    2004, each of which was filed with the
                 speech misleading or deceptive, a duty to                 SEC, contained material misstatements and
                 disclose arises.”) (emphasis in original).                omissions in that they misrepresented Bio
                                                                           One's financial state by, inter alia, failing
        The SEC also makes a number of allegations                         to disclose the Forbearance Agreements,
        regarding the Form 8-K filed in December of 2004,                  the default on the Note, and the
        including: (1) Bio One's accountant supplied                       receivership, and by mischaracterizing the
        financial statements which noted that Bio One had                  default as a delinquency. Because these are
        been declared to be in default; (2) Bio One's                      the type of documents on which investors
        attorney circulated a draft Form 8-K, which                        presumably rely for investment decisions,
        disclosed the default; (3) Shinder discussed both the              the SEC has, at this stage, satisfied the “in
        default and the Forbearance Agreements with Bio                    connection” with requirement. See Cooper
        One's attorney, and (a) told the attorney (falsely)                v. Pacific Life Ins. Co., 229 F.R.D. 245,
        that they had never received a written notice of                   252 (S.D.Ga.2005) (requirement satisfied
        default and that the Forbearance Agreements were                   by showing that defendant omitted from
        oral and not written, and (b) failed to disclose to the            prospectus information concerning value
        attorney the appointment of the receiver; (4)                      of security); S.E.C. v. Digital Lightwave,
        Shinder prevailed on the attorney to use the term “                Inc., 196 F.R.D. 698, 701 (M.D.Fla.2000)
        delinquent,” which was clearly a misrepresentation                 (where fraud involves public dissemination
        and an omission; (5) during the phone call with Bio                in document such as press release, annual
        One's accountant, Dauplaise misrepresented the                     report, prospectus, “or other such
        default by stating that it was “not a technical default,           document on which an investor would
        ” failed to disclose either Forbearance Agreement,                 presumably rely, the ‘in connection with’
        and downplayed the significance of the receiver,                   requirement is generally met by proof of
        and Shinder, by his silence during that phone call,                the means of dissemination and the
        failed to correct those misrepresentations; and (6)                materiality of the misrepresentation or
        ultimately, as a result of these misrepresentations                omission;” SEC satisfied requirement by
        and omissions, Bio One's accountant agreed to                      alleging     that    defendant     fraudulently
        replace the term “default” with “delinquent.”                      manipulated stock value by misstating
        Although these allegations do not specifically state               earnings in SEC filings); S.E.C. v. Warner,
        that Shinder drafted misleading text for the Form                  652 F.Supp. 647, 651 (S.D.Fla.1987)
        8-K, one can infer from these allegations that                     (requirement is satisfied when “it may
        Shinder (along with Dauplaise) was responsible for                 reasonably be expected that a publicly
        the misrepresentations and omissions that resulted                 disseminated       document       will   cause
        in Bio One's accountants' decision to issue a                      reasonable investors to buy or sell
        deceptive Form 8-K.FN17 Therefore, viewing the                     securities in reliance thereon”).
        allegations in the light most favorable to the SEC,
        the Court finds that the SEC has stated a claim                    FN18. In addition to primary liability, the
        against Shinder for a primary violation of Section                 allegations of the Complaint clearly
        10(b), Rule 10b-5, and Section 17(a).FN18                          establish aider and abettor liability as well
                                                                           under Section 10(b) and Rule 10b-5
                                                                           (however the SEC has not alleged that
                 FN17. Notwithstanding Shinder's argument                  Shinder aided and abetted a violation of
                 to the contrary, the SEC has met the “in                  Section 17(a)). Although private plaintiffs
                 connection with” requirement of a                         may not maintain suits for aiding and
                 violation of Section 10(b) and Rule 10b-5.                abetting under Section 10(b), Central Bank

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                 of Denver, N.A. v. First Interstate Bank of        S.E.C. v. Gallagher, 1989 WL 95252 at *6
                 Denver, N.A., 511 U.S. 164, 191, 114               (E.D.Pa. Aug.16, 1989) (“the obligation to file
                 S.Ct. 1439, 128 L.Ed.2d 119 (1994), the            truthful statements is implicit in the obligation to file
                 SEC may bring civil enforcement actions            ”) (emphasis in original; internal citation and
                 against those who aid and abet violations          quotation omitted).FN20
                 of federal securities laws, including
                 Section 10(b) and Rule 10b-5. S.E.C. v.
                 Pimco Advisors Fund Mgmt. LLC, 341                          FN19. A Form 8-K is required to be filed
                 F.Supp.2d 454, 467 (S.D.N.Y.2004); see                      upon the occurrence of any number of
                 also 15 U.S.C. § 78t.                                       events, including, but not limited to: the
                                                                             entry into or termination of material
              B. Count Two-Violation of Section 13(a)                        agreements; bankruptcy or receivership;
                                                                             the completion of the acquisition or
        Section 13(a) (“Reports by issuer of security;                       disposition of assets; results of operations
        contents”) provides, in relevant part, that:                         and financial condition; the creation of a
        Every issuer of a security registered pursuant to                    direct financial obligation or an obligation
        section 781 of this title shall file with the                        under an off-balance sheet arrangement;
        Commission, in accordance with such rules and                        events that accelerate or increase a direct
        regulations as the Commission may prescribe as                       financial obligation or an obligation under
        necessary or appropriate for the proper protection                   an off-balance sheet arrangement; material
        of investors and to insure fair dealing in the security-             impairments; delisting or the failure to
        *7 (1) such information and documents (and such                      satisfy a listing rule; material modifications
        copies thereof) as the Commission shall require to                   to the rights of security holders; and
        keep reasonably current the information and                          changes in corporate governance and
        documents required to be included in or filed with                   management.                                 See
        an application or registration statement filed                       www.sec.gov/about/forms/secforms.htm;
        pursuant to section 781 of this title....                            see also S.E.C. v. Falstaff Brewing Corp.,
        (2) such annual reports ... and such quarterly reports               629 F.2d 62, 70 n. 11 (D.C.Cir.1980) (“
        (and such copies thereof), as the Commission may                     Rule 13a-11 requires a Form 8-K
        prescribe.                                                           whenever certain events listed in the form's
                                                                             instructions transpire.”). A quarterly
        15 U.S.C. § 78m(a). Rules 13a-11 and 13a-13                          report, generally filed on a Form 10-Q,
        promulgated pursuant to Section 13(a) respectively                   includes information on the registrant's
        require a registrant to file Form 8-Ks and quarterly                 financial      state     (including    financial
        reports.FN19 17 C.F.R. §§ 240.13a-11, 240.13a-13;                    statements),       legal     proceedings,   the
        see also S.E.C. v. Koenig, 469 F.2d 198, 200 n. 3                    unregistered sale of equity securities,
        (2nd Cir.1972) (Section 13(a) and Rules 13a-13 and                   defaults on senior securities, submission of
        13a-11 require the filing with the SEC of quarterly                  matters to a vote of security holders, and
        reports on Form 10-Q and current reports of                          other information, including information
        material corporate developments on Form 8-K);                        required to be disclosed in a Form 8-K for
        S.E.C. v. Chester Holdings, Ltd., 41 F.Supp.2d 505,                  the relevant quarter but not reported
        526 (D.N.J.1999). “These reports must be accurate                    therein.                                    See
        and not omit information that would otherwise                        www.sec.gov/about/forms/secforms.htm;
        make the information in the reports not misleading.”                 see also S.E.C. v. Gallagher, 1989 WL
        S.E.C. v. Intelliquis Int'l, Inc., 2003 WL 23356426                  95252 at *6 (E.D.Pa. Aug.16, 1989) (“
        at *11 (D.Utah Dec.11, 2003); Chester Holdings,                      Rule 13a-13 requires [issuers] to file
        41 F.Supp.2d at 526 (“The statements must not be                     quarterly reports”); Falstaff Brewing, 629
        misleading and financial reports are presumed to be                  F.2d at 70 n. 9 (“all Form 10-Q requires is
        misleading if not filed in accordance with GAAP.”);                  a statement that the registrant has made all

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                necessary reports during the past 12                        failing to file a Form 8-K upon receiving
                months and has been subject to the                          the notice of default and/or the signing of
                reporting requirements for the past 90 days                 the Forbearance Agreements. While those
                ”).                                                         facts may establish a primary violation, the
                                                                            SEC has failed to allege that Shinder
                FN20. See also S.E.C. v. Save The World                     played a role in that failure, and thus has
                Air Inc., 2005 WL 3077514 (S.D.N.Y.                         failed to state a claim against Shinder in
                Nov.15, 2005) (violation of Section                         this regard.
                13(b)(2)(A) and rules thereunder where
                company failed to disclose source of                  C. Count Three-Falsification of Bio One's Books
                payment, and thus did not accurately                            and Records (Rule 13b2-1)
                reflect transaction in its filings, and then
                failed to correct those misleading filings);        Rule 13b2-1 (“Falsification of accounting records”)
                Chester Holdings, 41 F.Supp.2d at 526               provides that “[n]o person shall directly or
                (company's      10-Qs     were     materially       indirectly, falsify or cause to be falsified, any book,
                misleading, and therefore violated Sections         record or account subject to section 13(b)(2)(A) of
                12 and 13(a), as well as Rules 13a-1,               the Securities Exchange Act.” 17 C.F.R. §
                13a-11, and 13a-13).                                240.13b2-1; FN23 see also U.S. v. Wilson, 2001
                                                                    WL 798018 at *6 (S.D.N.Y. Jul.13, 2001) (“These
        The SEC has alleged that Shinder aided and abetted          provisions essentially require publicly held
        violations of Section 13(a) and Rules 13a-11 and            corporations to keep accurate records and accounts.”
        13a-13. As discussed previously, there is no                ). The books and records provision
        indication as to why the Second Quarter 10-Q was
        misleading given that it does not disclose events
        that did not occur until after the time period covered              FN23. “[S]ection 13(b)(2) and the rules
        in the report, and thus the SEC has failed to show a                promulgated thereunder are rules of
        violation in relation to the Second Quarter 10-Q.                   general application which were enacted to
        The Third Quarter 10-Q contained material                           (1) assure that an issuer's books and
        misrepresentations and omissions, but there are no                  records accurately and fairly reflect its
        allegations connecting Shinder and the Third                        transactions and the disposition of assets,
        Quarter 10-Q. Therefore, the SEC's claim as to this                 (2) protect the integrity of the independent
        document fails.FN21 However, because the Form                       audit of issuer financial statements that are
        8-K contained material misrepresentations, for the                  required under the Exchange Act, and (3)
        reasons discussed above in relation to the                          promote the reliability and completeness of
        allegations of fraud regarding the Form 8-K, the                    financial information that issuers are
        SEC has made sufficient allegations to show that                    required to file with the Commission or
        Shinder aided and abetted a violation of Section                    disseminate to investors pursuant to the
        13(a) and Rule 13a-11.FN22                                          Exchange Act.” S.E.C. v. World-Wide
                                                                            Coin Inv., Ltd., 567 F.Supp. 724, 746
                                                                            (N.D.Ga.1983). “The proscription is not
                FN21. Upon repleading, the SEC should                       limited to corporate officers or employees.”
                be prepared to clarify those particular                      S.E.C. v. Softpoint, Inc., 958 F.Supp. 846,
                reports that violate Section 13(a) and to                   865-66 (S.D.N.Y.1997). There is no
                demonstrate what misrepresentations are                     scienter requirement; instead, liability is
                contained in those reports and how Shinder                  predicated on standards of reasonableness.
                is connected to those reports.                              Id. at 866 (internal citation and quotation
                                                                            omitted); S.E.C. v. Lowy, 396 F.Supp.2d
                FN22. The SEC also argues that Bio One                      225, 250 (E.D.N.Y.2003) (as prerequisite
                violated Section 13(a) and Rule 13a-11 by                   to liability, S.E.C. must establish that

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                defendant acted unreasonably; scienter is                   Jul.18, 2005) (plaintiff adequately pled
                not an element).                                            claim by alleging that defendant, inter alia,
                                                                            lied to the chief accountant about the
        *8 has three basic objectives: (1) books and records                existence of the side agreements,
        should reflect transactions in conformity with                      knowingly circumvented company's system
        accepted methods of reporting economic events, (2)                  of internal accounting controls and
        misrepresentation,     concealment,     falsification,              knowingly caused company's books and
        circumvention, and other deliberate acts resulting in               records to be falsified); S.E.C. v. Kahn,
        inaccurate financial books and records are unlawful,                2002 WL 1163723 at *13 (N.D.Ill. May
        and (3) transactions should be properly reflected on                31, 2002) (defendant violated this Rule
        books and records in such a manner as to permit the                 where he deferred accounts and performed
        preparation of financial statements in conformity                   balance adjustments to make delinquent
        with GAAP and other criteria applicable to such                     accounts appear current); S.E.C. v. Pace,
        statements.                                                         173 F.Supp.2d 30 (D.D.C.2001) (violation
        S.E.C. v. World-Wide Coin Inv., Ltd., 567 F.Supp.                   where defendant did not record transfers of
        724, 748 (N.D.Ga.1983). To prevail on such a                        funds to his personal bank account in the
        claim, “the SEC must establish that [the defendant]                 corporate books and records); S.E.C. v.
        directly or indirectly, falsified or caused to be                   Softpoint, Inc., 958 F.Supp. 846, 866
        falsified, any book, record or account that the                     (S.D.N.Y.1997) (where defendant retained
        company was required to maintain under the                          fictitious entries and payments in accounts
        Securities Exchange Act.” S.E.C. v. Lowy, 396                       receivable ledger, approved and signed
        F.Supp.2d 225, 240 (E.D.N.Y.2003). FN24                             annual disclosure that misrepresented
                                                                            company's sales and collections, and as a
                                                                            consultant participated in the preparation
                FN24. “Congress' use of the term ‘records'                  of numerous annual and quarterly reports
                suggests that virtually any tangible                        containing fictitious entries and payments
                embodiment of information made or kept                      he did not act reasonably as required by
                by an issuer is within the scope of section                 Rule 13b2-1).
                13(b)(2)(A) of the FCPA, such as tape
                recordings, computer print-outs, and                   D. Count Four-Misstatements or Omissions in
                similar representations.” World-Wide Coin,            Statements Made to Bio One's Accountants (Rule
                 567 F.Supp. 748-49.                                                     13b2-2)

        The SEC has alleged that Shinder was aware of               Rule 13b2-2 generally forbids officers and directors
        certain practices and that Shinder made material            of issuing companies from making material
        misrepresentations and omissions, but the SEC has           misstatements or omissions in communications with
        not alleged how Shinder's actions affected any of           accountants in connection with audits or reviews of
        Bio One's books, records or accounts. Indeed, other         the issuer's financial records or with the preparation
        than the conclusory allegation in Count Three               or filing of documents required to be filed with the
        (which basically restates the language of the Rule),        SEC, and also prevents officers and directors from
        the SEC's Complaint makes no reference to Bio               manipulating, misleading or fraudulently inducing
        One's books, records or accounts. Therefore the             any independent accountant who is performing an
        SEC has failed to provide sufficient allegations to         audit or review of the issuer's financial statements.
        state a claim against Shinder for a violation of Rule       See 17 C.F.R. § 240 .13b2-2; see also S.E.C. v.
        13b2-1.FN25                                                 Autocorp Equities, Inc., 292 F.Supp.2d 1310, 1332
                                                                    (D.Utah 2003) (“Rule 13b-2 makes it illegal for an
                                                                    officer to mislead auditors and accountants.”);
                FN25. Compare S.E.C. v. Lucent Tech.                S.E.C. v. Autocorp Equities, Inc., 2004 WL
                Inc., 2005 WL 1683741 at *2 (D.N.J.                 1771608 at *6 (D.Utah Aug.4, 2004) (“Rule 13b2-2

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        ... imposes a duty on corporate officers to clarify           Maintain Internal Controls (Section 13(b)(2)(B))
        previous statements that are misleading in the
        absence of some material fact.”).                           *9 Section 13(b)(2) addresses, in part, the internal
                                                                    accounting controls element of a company's control
        The SEC has specifically alleged that: (1) Shinder          system, which is a system
        withheld facts from Bio One's accountants; FN26             specifically designed to provide reasonable,
        (2) Shinder remained silent during a conference call        cost-effective safeguards against the unauthorized
        with Bio One's accountant during which call                 use or disposition of company assets and reasonable
        Dauplaise made material misrepresentations to the           assurances that financial records and accounts are
        accountant; FN27 and, (3) as a result, the Form 8-K         sufficiently reliable for purposes of external
        contained the misleading statement that Bio One             reporting.
        was delinquent in its obligation to the Nesrallahs,
        rather than stating that Bio One had defaulted.             World-Wide Coin, 567 F.Supp. at 750; see also 15
        Therefore the SEC has provided sufficient                   U.S.C. § 78m(b)(2). FN29 This section is designed
        allegations to state a claim against Shinder for            to “give statutory content to an aspect of
        violating Rule 13b2-2.FN28                                  management stewardship responsibility, that of
                                                                    providing shareholders with reasonable assurances
                                                                    that the business is adequately controlled.” Id.
                FN26. Although Shinder only served as a
                director of Bio One until November of
                2004, the SEC alleges that he remained as                   FN29. These internal accounting controls
                the de facto CFO of Bio One throughout                      may be distinguished from a company's
                the time period relevant to this matter,                    actual accounting system as follows:
                including the time period when the Form                     Accounting systems process transactions
                8-K was prepared and filed.                                 and recognize, calculate, classify, post,
                                                                            summarize,     and     report    transactions.
                FN27. Dauplaise's actions in this regard                    Internal controls safeguard assets and
                are sufficient to establish a primary                       assure the reliability of financial records,
                violation of Rule 13b2-2. See S.E.C. v.                     one of their main jobs being to prevent and
                Autocorp Equities, Inc., 2004 WL                            detect errors and irregularities that arise in
                1771608 at *6 (D.Utah Aug.4, 2004) (once                    the accounting systems of the company.
                defendant learned that certificates of                      Internal accounting controls are basic
                deposit were fake but failed to inform                      indicators of the reliability of the financial
                accountants, he violated Rule 13b2-2);                      statements and the accounting system and
                S.E.C. v. Benson, 657 F.Supp. 1122, 1132                    records from which financial statements
                (S.D.N.Y.1987) (defendant violated Rule                     are prepared.
                13b2-2 when he made numerous false and                      World-Wide Coin, 567 F.Supp. at 750.
                misleading statements and omissions of
                fact to company's auditor in connection             The SEC alleges that Bio One failed to devise or
                with audit of company's financial                   maintain the required system of internal accounting
                statements filed as part of company's               controls, and that Shinder aided and abetted that
                annual reports on Form 10-K).                       violation. There are no allegations linking Shinder
                                                                    to this violation. Indeed, Shinder is not even
                FN28. In the alternative, the SEC has, at a         mentioned in the background section of the
                minimum, stated a claim against Shinder             Complaint specifically addressing this violation.
                for aiding and abetting a violation of Rule         Therefore the SEC has failed to state a claim against
                13b2-2.                                             Shinder for a violation of Section 13(b)(2)(B).

          E. Count Five-Aiding and Abetting the Failure to

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                           IV. Conclusion

        For the reasons stated herein, the SEC has made
        sufficient allegations to state a claim against
        Shinder for (1) a primary violation of Section 10(b),
        Rule 10b-5, and Section 17(a) (Count One); (2)
        aiding and abetting violations of Section 13(a) and
        Rule 13a-11 in relation to the Form 8-K (Count
        Two); and (3) violating Rule 13b2-2 (Count Four).
        Therefore Shinder's Motion to Dismiss will be
        denied as to those Counts. However the SEC has
        not made sufficient allegations to support its
        remaining claims, and thus the following claims will
        be dismissed: Count Two, to the extent it alleges a
        violation of Section 13(a) and Rule 13a-13 in
        relation to the Form 10-Qs; and Counts Three and
        Five. Accordingly, it is

        ORDERED THAT Shinder's Motion to Dismiss
        (Doc. 20) is GRANTED IN PART and DENIED IN
        PART. The SEC may file an amended complaint
        consistent with this Order within twenty (20) days.

        DONE and ORDERED.

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        Briefs and Other Related Documents (Back to top)

        • 2006 WL 1434916 (Trial Pleading) Defendant
        Bernard Shinder's Answer and Affirmative
        Defenses /avoidances to Amended Complaint and
        Demand for Jury Trial (Apr. 10, 2006) Original
        Image of this Document (PDF)
        • 2006 WL 422308 (Trial Motion, Memorandum
        and Affidavit) Plaintiff Sec's Opposition to
        Defendant Bernard Shinder's Motion to Dismiss
        Complaint for Failure to State A Claim (Jan. 19,
        2006) Original Image of this Document (PDF)
        • 6:05cv01391 (Docket) (Sep. 22, 2005)

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